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UNITED STATES DISTRICT COURT                              ELECTRONI~Y                FILED
SOUTHERN DISTRICT OF NEW YORK                             DOC#:              , :,,
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                                                          DATE FILED:
MICHAEL DARDASHTIAN, individually and
on behalf of COOPER SQUARE VENTURES,
LLC, NDAP, LLC and CHANNELREPLY, LLC

                        Plaintiffs,                     17 Civ. 4327        (LLS)

              - against -                                OPINION & ORDER

DAVID GITMAN, JEREMY FALK, SUMMIT
ROCK HOLDINGS, LLC, ACCEL COMMERCE,
LLC, DALVA VENTURES, LLC,
KONSTANTYN BAGAIEV, OLESKSII
GLUKHAREV and CHANNEL REPLY, INC.

                        Defendants.

     - - - - - - - - - - - - - -                -X

      Defendants David Gitman; Accel Commerce, LLC; Dalva

 Ventures, LLC; and ChannelReply, Inc. move for dismissal of the

 complaint.     The motion (Doc. No. 48)         is granted in part and

 denied in part.

                                 PARTIES

      Plaintiff Michael Dardashtian asserts this action

 individually, and derivatively on behalf of Cooper Square

 Ventures, LLC     ("CSV"); NDAP, LLC; and ChannelReply, LLC, both

 wholly owned subsidiaries of CSV (collectively, the "plaintiff

 entities").     Dardashtian and defendant Gitman are the only

 members of CSV, each owning a 50% membership interest and profit

 percentage, and named in its operating agreement as its co-



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managers responsible for its daily operations.

     CSV is an e-commerce software technology company.

ChannelReply, LLC, a software service created and owned by CSV,

facilitates eBay and Amazon store owners' communications with

their customers.    CSV's proprietary and confidential

ChannelReply, LLC sottware was created by freelance

subcontractors of CSV, Konstantyn Bagaev and Oleskii Glukharev.

NDAP, LLC, another subsidiary of CSV, sold automobile parts

online; since the complaint was filed in June 2017, its

proprietary technology assets and business have been sold.

     Defendant Jeremy Falk is a principal and member of Summit

Rock Holdings, LLC ("Summit Rock"), and both served as brokers

and consultants to CSV and NDAP in connection with the sale of

NDAP, LLC.   Accel Commerce, LLC is an e-commerce company formed

 by Falk and Gitman, allegedly to compete with CSV and

 ChannelReply, LLC.    ChannelReply, Inc. is a separate and

 distinct entity from ChannelReply, LLC, and was formed by Gitman

 allegedly to compete against CSV and ChannelReply, LLC.

                                BACKGROUND

      Dardashtian filed the complaint against defendants on

 June 8, 2017, alleging various claims against Gitman, including

 breach of fiduciary duty, computer fraud, misappropriation of

 trade secrets, identity theft, and conversion.         The claims arise



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from Gitman allegedly "locking out" Dardashtian from the

plaintiff entities; depleting the plaintiff entities' operating

accounts; unlawfully transferring confidential and proprietary

information and trade secrets into his newly formed competing

companies; and soliciting the plaintiff entities' software

developers, Bagaev and Glukharev, to join the competing company,

ChannelReply, Inc.

     The following allegations are taken from the complaint.

     Falk's and Summit Rock's Consulting Fee.         In February and

March 2017, Gitman and Falk began urging Dardashtian to agree to

pay Falk and Summit Rock a flat fee for their consulting work

related to CSV's sale of NDAP.       They agreed to lower their fee

at Gitman's behest.     Nevertheless, before the sale closed, Falk

and Gitman demanded that Falk receive a higher fee and Gitman

demanded that he receive a greater portion than Dardashtian of

 the sale profits.

      Defendants' Misappropriation and Conversion of CSV's

 Assets.   In October 2011, Dardashtian and Gitman had agreed that

 CSV's bank account with Bank of America would be used to fund

 ChannelReply, LLC; NDAP, LLC; and other operations in the CSV

 portfolio.    As of May 26, 2017, that account had a balance of

 $73,982.53.
      On the morning of Saturday, May 27, 2017, Gitman withdrew



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practically all of the funds in the CSV Bank of America account,

reducing its balance to less than $25.00.           Around 4:30pm on

May 27, Dardashtian received an email from Gitman, stating that

Gitman withdrew the funds from that account and would thereafter

unilaterally make decisions on behalf of CSV.           By May 29 at

8:01pm, the account balance was overdrawn by $229.40 by payments

for preexisting ChannelReply, LLC services.           On May 31, Gitman

began increasing CSV's debt using its Bank of America account

and credit card, including for a lease payment on his BMW

automobile.     This use of CSV's funds threatened its loss of its

200-plus customers, and its collapse.

     Gitman's Formation of Competing Businesses.           Gitman formed

two businesses to compete with plaintiff entities: Accel

Commerce, LLC and ChannelReply, Inc.          The CSV operating

 agreement permits its members to form and operate a competing

 business, but not to take CSV's actual business.           (CSV Operating

 Agmt. § 12).    The "outside activities" clause prohibits

 Dardashtian and Gitman from using CSV's confidential and

 proprietary information for their own benefit or that of any

 competing business.             The operating agreement also forbids

 Dardashtian and Gitman from using CSV money or property other

 than for CSV's benefit.      (Id.   §   8.2(d)).

      In late April 2017, Dardashtian learned that Gitman and



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Falk formed Accel Commerce, LLC, a company that competes with

CSV and ChannelReply, LLC.     He also learned that they were using

a CSV electronic account to operate Accel Commerce, LLC.

     On May 29, Gitman blocked Dardashtian from accessing a CSV

and ChannelReply, LLC conference call with their employees.

Later that day and the following day, Gitman told Bagaev

(ChannelReply, LLC's lead software developer) that Gitman

intended to fly to Russia immediately to meet privately with

Bagaev and Glukharev, ChannelReply, LLC's two software

developers.

     On May 30, Gitman registered ChannelReply, Inc. with the

Delaware Secretary of State, allegedly for the purpose of

transferring to it all CSV's assets, including ChannelReply,

LLC's proprietary software codes.       On June 1, Gitman sent Bagaev

and Glukharev agreements for their employment with ChannelReply,

 Inc.; and on June 5, he advised Bagaev that he intended to

 develop a new corporation in the Ukraine to reduce company

 taxes.   Gitman also discussed with them obtaining venture

 capital for the new company.


      Gitman's Misappropriation of Computer Passcodes and

 Software.    On May 27, Dardashtian discovered that he was locked

 out of the CSV and the NDAP, LLC accounts with Bank of America.

 Gitman removed Dardashtian's access to "lPassword," a website


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containing all company-level passwords to CSV's many computer

software programs.l      In addition, Gitman locked Dardashtian out

from and created a new domain for CSV's Google Suite, to which

he migrated Dardashtian's email address

(michael@channelreply.com), allowing him to send and receive

Dardashtian's business emails.         Dardashtian has evidence that

Gitman also opened and downloaded Dardashtian's personal

investment and tax documents.

     Gitman's Defamatory Comments.          Gitman made several false

statements to his business associates to demean Dardashtian, and

stated to Bagaev that Dardashtian "stole" money, operated a

"pyramid scheme," and was a "parasite" and a "bully."

                            PROCEDURAL HISTORY

      On June 8, 2017, Dardashtian obtained from this Court

temporary restraints enjoining defendants from:

         •   misappropriating or otherwise withdrawing funds

             belonging to plaintiffs from plaintiffs' bank



1 Gitman revoked or suspended Dardashtian's access to over a score of
accounts, including lPassword (password and login account management),
Chargebee (subscription management), Stripe (credit card billing), PayPal
(online payment), Upwork (freelancer marketplace), Zendesk (customer service
management), JIRA (project management), Slack (messaging management), Amazon
Seller (Amazon sales), eBay (eBay sales), Timedoctor (employee time
management), Amazon Web Services (Amazon Web Servers management), American
Express (NDAP, LLC corporate credit card), Magenta (backend data), Quickbooks
(accounting), Desk.com (customer service management), Godaddy (domain
operation), Magemojo (Magenta hosted server), Mailchimp (email subscription
newsletter), Github (software storage), Ringcentral (VOIP system), and
Join.me (screenshare).

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           accounts, payment or subscription portals, or any

           other location;

  •        accessing, disclosing, reproducing, or using plaintiff

           entities' confidential information, customer lists and

           contact information, vendor lists and contact

           information, computer codes and passcodes,

           intellectual property, and trade secrets;

   •       utilizing, sharing, or selling the proprietary or

           confidential information and code that was developed

           by Bagaev and Glukharev for the sole benefit of

           plaintiff entities;

      •    misappropriating Dardashtian's identity or falsely

           representing themselves in any manner as Michael

           Dardashtian or under his business name, "Michael

           Dash";

       •    using plaintiff entities' confidential, proprietary or

            trade secret information to compete against plaintiff

            entities, and replicating or attempting to replicate

            an identical or functionally similar analog of any of

            plaintiff entities' confidential, proprietary, or

            trade secret information;




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and directing Gitman to:

       •     redeposit into the CSV Bank of America account all

             monies withdrawn by him and pay any overdraft fees

             incurred since May 27, 2017; and

        •    restore Dardashtian's access to plaintiff entities'

             electronic accounts;

and directing defendants to:

        •    return to plaintiffs all physical and electronic

             copies, backups, discs, drives, and other storage

             devices containing any of plaintiff entities'

              confidential information, trade secrets, company data,

              and other property in defendants' possession, custody,

              or control.

 (Doc. Nos. 3, 5).

      Those orders remain in full force and effect.          (Doc.

 No. 33).

                                DISCUSSION


                     Derivative and Individual Claims

            Dardashtian May Assert Derivative Claims on Behalf of

                             Plaintiff Entities

      Defendants contend that, under the operating agreements,

 Dardashtian has no authority to sue on behalf of the plaintiff

 entities.     They rely on the "Management by Managers" clause of

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the operating agreements for arguing that Dardashtian's

commencing this suit on behalf of CSV; NDAP, LLC; and

ChannelReply, LLC required (and lacked) Gitman's approval.              The

clause provides:

       Whenever management shall be required to take any
       action, make any decision or exercise any discretion and
       there shall be more than one Manager, then except as
       otherwise provided in this Agreement,       the action,
       decision or exercise of discretion shall require the
       approval of all of the persons appointed as Manager.

(CSV Operating Agmt.     §   8.1(c); ChannelReply, LLC Operating Agmt.

§    8.1(c); NDAP, LLC Operating Agmt.       §   7.3(a)).

        Under New York law, a member of an LLC need not be a

manager to sue derivatively on its behalf.             Tzolis v. Wolff, 10

N.Y.3d 100, 109 (N.Y. 2008)       ("We therefore hold that members of

LLCs may sue derivatively."); Bischoff v. Boar's Head Provisions

Co., 436 F. Supp. 2d 626, 631 (S.D.N.Y. 2006))              ("New York LLC

members may assert derivative actions under New York law.").                 A

 member bringing a derivative lawsuit does not require any

 action, decision, exercise of discretion, or approval by

 management; indeed, management often opposes the derivative

    action, and may be held in liability as a result of it.

    Dardashtian is a member of the LLC, and under Section 17.11 of

    the CSV operating agreement, all remedies of members at law, in

    equity, or by statute are cumulative.




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        The cited clause has no application to the bringing of this

derivative suit, and does not prevent it.

                  Dardashtian Satisfies the Demand Requirement

        Under New York law, a plaintiff bringing a derivative

action on behalf of an LLC must make a pre-suit demand, except

where making demand would be futile.         N.Y. Bus. Corp. Law

§   62 6 (c)    ("In any such action, the complaint shall set forth

with particularity the efforts of the plaintiff to secure the

initiation of such action by the board or the reasons for not

making such effort."); see also Fine v. New York Cmty. Bank, 33

Misc. 3d 1215(A), 1215 (N.Y. Sup. Ct. 2008); In re Pfizer, Inc.

Derivative Sec. Litig., 503 F. Supp. 2d 680, 683 (S.D.N.Y.

2007).         The requirement of making a pre-suit demand on the board

of directors is excused if demand would be futile.            See Marx v.

Akers,     666 N.E.2d 1034 (N.Y. 1996).      "Directors are self-

interested in a challenged transaction where they will receive a

direct financial benefit from the transaction which is different

from the benefit to shareholders generally."           Id. at 1042.

        All of the transactions that Dardashtian challenges were

being carried out under Gitman's control or direction.              Gitman

stood to benefit financially from the challenged transactions,

which he performed allegedly to establish competing businesses

for his profit.         Since the beneficiary of the challenged



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transactions is the only other manager and 50% owner,

Dardashtian has met the demand requirement by alleging facts

showing that demand would be futile.

     Dardashtian Does Not Confuse the Derivative and Individual

                                    Claims

     Defendants argue that the complaint should be dismissed

because Dardashtian fails to segregate the individual and

derivative claims.     Defendants raise this argument for the first

time in their reply brief, so it need not be considered.           See

Koehler v. Bank of Bermuda Ltd., No. M18-302, 2004 WL 906274, at

*5 (S.D.N.Y. Apr. 27, 2004); see also JP Morgan Chase Bank v.

Altos Hornos de Mexico, S.A. de C.V., 412 F.3d 418, 428         (2d Cir.

2005).

      In any event, Dardashtian adequately segregates the

derivative and individual claims.        The complaint specifies

 whether the alleged claim of right and harm belongs to him

 individually, one or more of plaintiff entities, or both.

 Dardashtian, as an LLC member, may sue for both derivative and

 individual claims.        Bischoff v. Boar's Head Provisions Co., 436

 F. Supp. 2d 626,    633    (S.D.N.Y. 2006)   (citing Excimer Assocs. V.

 LCA Vision,   Inc., 292 F.3d 134, 140 (2d Cir. 2002)       (a derivative

 claim "does not preclude the plaintiff from asserting its claim

 directly" where the plaintiff has also sustained direct harm) ) .



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       Defendants also contend that derivative and individual

claims "must not be intermingled within the same causes of

action, but instead must be pleaded separately."           Greenberg v.

Falco Constr. Corp., No. 4267/2010, 2010 WL 3781279, at *3

(N.Y. Sup. Ct. 2010).        In Greenberg, however, the plaintiff

purported to assert claims derivatively, but sought relief both

individually and derivatively.         Here, there is no such

confusion.      Defendants themselves have identified Counts 5, 6,

7, 8, 12, 13, 14, and 18 as derivative claims.            (Doc No. 49 at

12).     Although defendants articulate the test for determining

whether a claim is derivative or individual, they do not claim

that Dardashtian was mistaken in asserting any claims

derivatively or individually.

        Defendants' motion to dismiss for failing to segregate the

derivative and individual claims is denied.

                              Federal Law Claims

                        Defend Trade Secrets Act ("DTSA")

        The DTSA allows an owner of a trade secret to sue in

 federal court when its trade secrets have been misappropriated.

 See 18 U.S.C.     §§   1382, 1836.   New York law "requires the trade

 secret claimant to describe the secret with sufficient

 specificity that its protectability can be assessed."             Sit-Up

 Ltd. v. lAC/InterActive Corp., No. 05 Civ. 9292, 2008 WL 463884,


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at *10 (S.D.N.Y. Feb. 20, 2008).         A trade secret claimant must

"provide Defendants with the general contours of the alleged

trade secrets" that it seeks to protect.          Chatterplug, Inc. v.

Digital Intent, LLC, No. 16 Civ. 4056, 2016 WL 6395409, at *3

(N.D. Ill. Oct. 28, 2016).          "Defendants are entitled to be able

to discern what trade secrets are at issue."          Id.

     Here, Dardashtian identifies the trade secrets he seeks to

protect:

     Such trade secrets include customer lists and addresses,
     vendor lists and addresses, computer software programs;
     computer pass codes and other protectable intellectual
     property and proprietary information.       These trade
     secrets include but are not limited to CSV's and
     Plaintiff Channel Reply's electronic services that are
     used in or intended for use in interstate and foreign
     commerce.

 (Compl.    ~   132).   This level of detail is adequate for defendants

to discern the trade secrets at issue.           In fact, these

 allegations were previously found to be sufficient to warrant

 temporary restraints against defendants' dissemination of trade

 secrets.       (Doc. Nos. 3, 5).    Dardashtian pleads breaches of the

 DTSA with sufficient specificity.

         The complaint also demands judgment against Gitman for

 damages resulting from the DTSA violation, as permitted by the

           See 18 U.S.C.    §   1836(b)(3)(B).   Thus, because Dardashtian
 DTSA.
 seeks different relief than that this Court has already granted,

 the DTSA claim has not been rendered academic.

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        Defendants' motion to dismiss the DTSA claim is denied.

                      Computer Fraud and Abuse Act           ("CFAA")

        The CFAA imposes liability on whoever:

        ( i) knowingly causes the transmission of a program,
        information, code, or command, and as a result of such
        conduct,    intentionally    causes   damage   without
        authorization, to a protected computer;

        (ii) intentionally accesses a protected computer without
        authorization,  and as    a  result   of such conduct,
        recklessly causes damage; or

        (iii) intentionally   accesses  a  protected   computer
        without authorization, and as a result of such conduct,
        causes damage.

18 U.S.C.     §   1030 (a) (5) (A).   The CFAA also imposes liability on

whoever "intentionally accesses a computer without authorization

or exceeds authorized access, and thereby obtains-- .

information from any protected computer."               18 U.S.C.

§   1030 (a) (2) (C).

        A defendant who misappropriates information from a computer

that he is authorized to access does not access the computer

"without authorization" or "exceed authorized access" under the

CFAA.     The CFAA does not define "without authorization," but

defines "exceeds authorizE;d access" as "to access a computer

with authorization and to use such access to obtain or alter

information in the computer that the accesser is not entitled to

so obtain or alter."          18 U.S.C.   §   1030(e) (6).     The Second

Circuit has construed Section 1030(a) narrowly, such that a

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defendant exceeds authorized access "only when he obtains or

alters information that he does not have authorization to access

for any purpose which is located on a computer that he is

otherwise authorized to access."       United States v. Valle, 807

F.3d 508, 511 (2d Cir. 2015)    (holding that a police officer who

used his status to access a database to search for an

individual, with no law enforcement purpose, did not exceed his

authorized access).    Computer use is "without authorization"

only in limited circumstances, such as where a student uploaded

malware to his university's computer system by using a "special

and unauthorized access route into computers," because his use

was not "in any way related to [its] intended function," United

States v. Morris, 928 F.2d 504, 510 (2d Cir. 1991).            That

interpretation comports with the CFAA's overall structure and

purpose: prohibiting computer hacking.           See United States v.

Aleynikov, 737 F. Supp. 2d 173, 192 (S.D.N.Y. 2010).

      Dardashtian recognizes that he and Gitman "jointly and

 equally shared and had access to the Company Computers

 Passwords, logon and login information, administrator

 information and therefore each fully maintained equal access to

 the Company Computers."     (Compl.   <]{   186).   Dardashtian's

 allegations that Gitman withdrew funds from the Bank of America

 account and transferred plaintiff entities' passwords and



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electronic accounts to a competing business are in effect

allegations that he misappropriated company information for his

personal use.    That does not state a claim for violation of the

CFAA.

        Defendants' motion to dismiss the CFAA claim is granted.

            Supplemental Jurisdiction over State Law Claims

        A federal district court may decline to assert supplemental

jurisdiction over remaining state law claims in an action when

it "has dismissed all claims over which it has original

jurisdiction."     28 U.S.C. § 1376.   Because federal law claims

remain in this action, that provision does not apply.

        Defendants' motion to dismiss for lack of supplemental

jurisdiction over the state claims is denied.

                            State Law Claims

                              Fiduciary Duty

        The elements of a claim for breach of fiduciary duty are

 "(i) the existence of a fiduciary duty;       (ii) a knowing breach of

 that duty; and (iii) damages resulting therefrom."         Johnson v.

 Nextel Commc'ns, Inc., 660 F.3d 131, 138 (2d Cir. 2011)         (citing

 Barrett v. Freifeld, 883 N.Y.S.2d 305, 308       (N.Y. App. Div.

 2009)).     New York courts have held that managing an LLC "gives

 rise to a relationship among the members which is analogous to

 that of partners, who, as fiduciaries of one another, owe a duty


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of undivided loyalty to the partnership's interests."              See

Kalikow v. Shalik, 986 N.Y.S.2d 762, 757 (N.Y. Sup. Ct. 2014}.

          Dardashtian adequately alleges that Gitman, as a co-manager

of plaintiff entities (all of which are LLCs} owes fiduciary

duties to Dardashtian and the entities.            Indeed, the NDAP

operating agreement recites that each managing member "is acting

on behalf of all Members in the nature of a fiduciary."               (Id.

<JI   7. 6} .

          Dardashtian also adequately alleges that Gitman breached

his fiduciary duties to Dardashtian and plaintiff entities,

causing damages to both.         Dardashtian pleads a number of

specific actions Gitman has taken to harm Plaintiffs:

          Among other things, a) Defendant Gitman depleted the CSV
          business operating account with the express permission
          of     Plaintiff   Dardashtian;    b) misappropriated   and
          converted CSV's and Plaintiff ChannelReply's respective
          business assets and confidential information and trade
          secrets to form three competing companies,            Accel
          Commerce, Dal va Ventures and Defendant Channel Reply,
          Inc. ;   c} solicited CSR' s    [sic]  and ChannelReply' s
          respective customers on behalf of competing businesses;
          d) "locked out" Plaintiff Dardashtian from multiple
          computer     and   electronic    accounts   necessary   and
          fundamental to CSV's, NDAP and Plaintiff ChannelReply's
          business operations, including financial accounts in
          which Dardashtian had always had access; e) accessed and
          disclosed     Plaintiff  Dardashtian's personal     private
          financial and other information;         f) conspired with
          Summit Rock and Falk, respectively, to increase their
          brokerage fee as to the NDAP, LLC-XYZ transaction, while
          at the same time forming a competing business with Falk
          and sabotaging the sale with their unreasonable demands;
          and g) misappropriated and otherwise used the exact



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     tradename "Channel Reply" to unfairly compete against
     CSV and Plaintiff ChannelReply.

(Compl.   <JI   120).   Defendants argue that "plaintiff's claims

regarding breach of fiduciary duty (Counts 2 & 4) allege only

damages that inure to the benefit of Plaintiff Entities, not

Dardashtian individually."         (Defendants' Brief, Doc. No. 49 at

14-15).         That ignores Dardashtian's allegations of his

individual harm, including the access and disclosure of his

personal financial information.

     Defendants' motion to dismiss the fiduciary duty claims is

denied.

                                    Conversion

      "A conversion takes place when someone, intentionally and

without authority, assumes or exercises control over personal

property belonging to someone else, interfering with that

person's right of possession."         Colavito v. N.Y. Organ Donor

Network, Inc., 8 N.Y.3d 43, 49-50         (N.Y. 2006).    "[A]n action

will lie under New York law for conversion of money where there

 is an obligation to return or otherwise to treat in a particular

 manner the specific money in question."          LoPresti v.

 Terwilliger, 126 F.3d 34, 41-42        (2d Cir. 1997).    Further, "funds

 of a specific, named bank account are sufficiently identifiable

 to support a conversion claim."         Newbro v. Freed, 409

 F. Supp. 2d 386, 395 (S.D.N.Y. 2006)          (internal quotation marks

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omitted).   The conversion of funds from a corporate account

results in a corporate and not individual injury.             See Bright

View Trading Co. v. Park, 2004 U.S. D.st.             LEXIS 18572, at *13

(S.D.N.Y. Sept. 15, 2004; Paradiso & DiMenna, Inc. DiMenna, 649

N.Y.S.2d 126, 127 (N.Y. App. Div. 1996).          A claim for conversion

applies to electronic records stored on a computer.             Thyroff v.

Nationwide Mut. Ins. Co., 8 N.Y.3d 283 (N.Y. 2007).

     Dardashtian asserts a conversion claim both individually

and derivatively: "With the intent to interfere with the BoA

Account and Plaintiff Dardashtian's equal rights thereto,

Defendant Gitman did intentionally withdraw and siphon the funds

from the BoA account to the exclusion of Plaintiff Dardashtian,

CSV and Plaintiff ChannelReply and without Dardashtian's

authorization or consent."     (Compl.    ~   162).     Because Dardashtian

adequately alleges that Gitman, intentionally and without

authority, exercised control over the $74,715.21 in the CSV Bank

of America account, the alleged siphoning off of funds from the

account results in a corporate injury to plaintiff entities.

     The charge of access to and disclosure of Dardashtian's

personal private financial data alleges an exercise of control

of that data which is inconsistent with Dardashtian's private

possession of it, and thus an act of conversion.




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     Defendants' motion to dismiss the conversion claim is

denied.

                              Identity Theft

     New York's Fair Credit Reporting Act provides a cause of

action for identity theft: "No person, firm, partnership,

corporation, or association or employee thereof shall knowingly

and with the intent to defraud, obtain, possess, transfer, use,

or attempt to obtain, possess, transfer, or use credit, goods,

services or anything else of value in the name of another         per~on


without his or her consent."      N.Y. Gen. Bus. Law§ 380-s.        The

act permits only claims for violations of Section 380-s that

"resulted in the transmission or provision to a consumer

reporting agency of information that would otherwise not have

been transmitted or provided."      N.Y. Gen. Bus. Law § 380-1; see

Galper v. JP Morgan Chase Bank, N.A., 802 F.3d 437, 442          (2d Cir.

2015).    Courts dismiss claims for Section 380-s violations where

they do not involve credit reporting or do not appear to fall

within the intended scope of the section.        See Guardsman

Elevator Co.,   Inc. v. Apartment Inv. & Mgmt. Co., 2010 N.Y.

Misc. LEXIS 4067, at *5 (N.Y. Sup. Ct. Aug. 24, 2010); Leser v.

Karenkooper.com, 856 N.Y.S.2d 498, 498       (N.Y. Sup. Ct. 2008)

(dismissing Section 380-s claim that the defendant used the

plaintiff's name, email address, logo, trade name, and photo).



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     Dardashtian alleges that "Defendant Gitman has converted,

misappropriated and/or stolen Dardashtian's business identity by

wrongfully and without permission using Dardashtian's email

address."   (Compl.   ~   209).   However, Dardashtian does not allege

that these actions implicate credit reporting, as required to

recover under Section 380-1.        Drawing all inferences in favor of

Dardashtian, there is nothing to suggest that Gitman's use of

Dardashtian's email falls within the intended scope of the New

York Fair Credit Reporting Act.

     Defendants' motion to dismiss the identity theft claim is

granted.

     Tortious Interference with Prospective Economic Advantage

     The elements of a claim for tortious interference with

prospective economic advantage are "(1) the plaintiff had

business relations with a third party;       (2) the defendant

interfered with those business relations;       (3) the defendant

acted for a wrongful purpose or used dishonest, unfair, or

improper means; and (4) the defendant's acts injured the

relationship."   Catskill Dev., L.L.C. v. Park Place Entm't

Corp., 547 F.3d 115, 132 (2d Cir. 2008).        The wrongful means

element is a demanding requirement that balances the plaintiff's

interest in a contractual relationship against the interferer's

competing business interest, and fosters competition.         Id.



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     Each of those elements is met here, for both Dardashtian's

individual and derivative claims.           Dardashtian alleges that CSV

and ChannelReply, LLC have over two hundred customers worldwide,

which are valuable assets to plaintiff entities and Dardashtian.

(Compl.   ~~   42, 196).   Dardashtian also alleges that defendants

have taken several intentional actions that interfered with and

injured those relationships: misappropriating and converting

plaintiff entities' accounts and confidential information to

form competing companies; soliciting plaintiff entities'

customers on behalf of competing businesses; locking out

Dardashtian and terminating his access to various electronic

business accounts; accessing and disclosing Dardashtian's

personal financial information; using and infringing the trade

name "ChannelReply" to form competing businesses; and soliciting

and interfering with plaintiff entities' software developers.

(Compl. 'JI 197) .   Furthermore, Dardashtian alleges that

defendants' actions prevented plaintiff entities from entering

into (and Dardashtian from maintaining) several business

relationships.       (Compl.   ~   198).   As discussed above, Dardashtian

adequately pleads claims for an intentional tort           (conversion)

and breach of fiduciary duty, which demonstrates that defendants

used wrongful means.




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     Defendants' motion to dismiss the tortious interference

claim is denied.

                                 Defamation

     "The elements for a cause of action for defamation are a

false statement, published without privilege or authorization to

a third party, constituting fault as judged by, at a minimum, a

negligence standard, and it must either cause special harm or

constitute defamation per se."      D'Amico v. Corr. Med. Care,

Inc., 991 N.Y.S.2d 687, 694     (N.Y. App. Div. 2014).     A statement

constitutes defamation per se "if there is some reference,

direct or indirect, in the words or in the circumstances

attending their utterance, which connects the charge of

incompetence or dishonesty to the particular profession or trade

engaged in by plaintiff."      Spring v. City of Monroe, 57 N.Y.S.3d

799, 802 (N.Y. App. Div. 2017)      (citation and quotation marks

omitted) .   Certain statements fostering a public interest are

privileged and therefore shielded from defamation litigation.

See Bingham v. Gaynor, 96 N.E. 84, 85 (N.Y. 1911).          One type of

qualified privilege is the common interest privilege, which

extends to a "communication made by one person to another upon a

subject in which both have an interest."        Stillman v. Ford, 238

N.E.2d 304, 306 (N.Y. 1968); see also Liberman v. Gelstein, 605

N.E.2d 344, 349 (N.Y. 1992).      New York courts have determined,


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"Statements among employees in furtherance of the common

interest of the employer, made at a confidential meeting, may

well fall within the ambit of a qualified or conditional

privilege.u   Loughry v. Lincoln First Bank, N.A., 494 N.E.2d 70,

73 (N.Y. 1986).     Nonetheless, the privilege does not shield

statements published with malice or with knowledge of their

falsity or reckless disregard as to their truth or falsity.             See

O'Rorke v. Carpenter, 432 N.E.2d 136 (N.Y. 1981).

     Dardashtian pleads facts that, if true, constitute

defamation per se.     Dardashtian claims that Gitman made several

intentionally false statements to Bagaev, including that

Dardashtian "stolen money from the company and operated a

"pyramid scheme.u     (Compl.   ~~   203-05).   Defendants contend that

the defamation claim "fails on the face of its insufficient

allegations to overcome Gitman's qualified privilege to discuss

work-related matters with co-workers.u          (Defendants' Brief, Doc.

No. 49 at 16).    Although Dardashtian does not address that

contention, it is doubtful that the common interest privilege

would apply to Gitman's particular statements.          Defendants do

not point to anything suggesting such a broad privilege as would

apply to all work-related matters of every nature discussed

between coworkers.     Even if it does, Dardashtian alleges that

Gitman made "intentionally false statementsu knowing of their



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falsity, which would not be shielded by any privilege.                   (Compl.

<J[   202).

         Defendants' motion to dismiss the defamation claim is

denied.

                                   Attorney's Fees

         Dardashtian pleads several bases for receiving attorney's

fees.         (See, e.g., Compl.    <J[<J[   122, 125, 130, 136 & passim).

         Article 17.10 of the CSV and ChannelReply, LLC operating

agreements both provide that the prevailing party is entitled to

recover attorney's fees from the non-prevailing party "[i]f the

Company, any Member or any member of Management obtains a

judgment in connection with a dispute."                  (Meredith Decl. ,

Exs. 1, 3) .        Paragraph 6.7 of the NDAP operating agreement also

provides, "A member shall indemnify the Company for any costs or

damages incurred by the Company as a result of any unauthorized

action by such Member."            Aside from the contractual bases for

attorney's fees, New York law permits a successful derivative

plaintiff to recover attorney's fees from the defendants.                    See

N.Y. Bus. Corp. Law§ 626(e).

         Defendants' motion to dismiss for lack of a basis for

demanding attorney's fees is denied.




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                              Injunctive Relief

     Defendants correctly point out that injunctive relief is a

request for a remedy based on a violation of some other right,

not an independent claim.        See Chiste v. Hotels.com L.P., 756

F. Supp. 2d 382, 407    (S.D.N.Y. 2010)     ("Injunction is not a

separate cause of action; it is a remedy.").

     Defendants' motion to dismiss the injunctive relief claim

is granted.    Its availability as a possible remedy for the

remaining claims remains undisturbed.

                                 CONCLUSION

     The motion for dismissal (Doc. No. 48) is granted with

respect to the claims of violation of the CFAA, identity theft,

and injunctive relief (as a separate claim), and is otherwise

denied.

     So ordered.

Dated: New York, New York
          November 28, 2017



                                              LOUIS L. STANTON
                                                   U.S.D.J.




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